       Case 24-03120 Document 37 Filed in TXSB on 11/13/24 Page 1 of 1
                                                                                United States Bankruptcy Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                      UNITED STATES BANKRUPTCY COURT                               November 13, 2024
                     FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IN RE:                                             §
GALLERIA 2425 OWNER, LLC                           §      Case No. 23-34815 (JPN)
               Debtor                              §
                                                   §
ALI CHOUDHRI                                       §
     Plaintiff,                                    §
                                                   §      CAUSE NO. 4:24-cv-03198
vs.                                                §       ADV. PROC. 24-03120
                                                   §
NATIONAL BANK OF KUWAIT,                           §
S.A.K.P., NEW YORK BRANCH,                         §
      Defendants.                                  §

                                          ORDER

      The Order dismissing the appeal (ECF 3) is hereby withdrawn, and the appeal is reinstated.

      SIGNED this the 13th day of November, 2024.




                                                   ________________________________
                                                   KEITH P. ELLISON
                                                   UNITED STATES DISTRICT JUDGE
